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                                                                           2023 Oct-12 PM 05:14
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

DRUMMOND COMPANY, INC.                 )
                                       )
vs.                                    )
                                       )
                                               Case No. 2:11-cv-3596-RDP
TERRENCE P. COLLINGSWORTH, et          )
                                                     (Defamation)
al.                                    )
                                       )
______________________________________ )
                                       )
DRUMMOND COMPANY, INC., et al.         )
                                       )
                                               Case No. 2:15-cv-0506-RDP
v.                                     )
                                                         (RICO)
                                       )
TERRENCE P. COLLINGSWORTH, et )
al.                                    )


DRUMMOND’S RESPONSE TO CONRAD & SCHERER, LLP AND WILLIAM
  R. SCHERER, JR.’S RENEWED MOTION TO DEPOSE SALVATORE
                         MANCUSO




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         COME NOW the Plaintiffs, Drummond Company, Inc. and Drummond Ltd.

(“Drummond”) and pursuant to this Court’s October 10, 2023 Order (Doc. 255) file

this response to Conrad & Scherer, LLP’s (“C&S”) Renewed Motion to Depose

Salvatore Mancuso (Doc. 254).

    I.       DEFENDANTS HAVE NOT COMPLIED WITH THIS COURT’S ORDERS.

         The purpose of Defendants’ declarations is to “permit the parties and the

court to know whether Mancuso or his family had received ‘any payments or other

financial assistance’ from any of the Defendants or to their knowledge.” Doc. 227

(June 26, 2023 Order) at 3 (emphasis added); Doc. 205 (June 2, 2023 Order) at 3

(ordering Defendants to disclose payments or other financial assistance given to

Mancuso by any Defendant or “anyone else”). In response to the Court’s June 26

Order, Defendants C&S, Bill Scherer, Collingsworth, IRAdvocates, Van Bilderbeek,

Ramirez, and Otero submitted revised declarations stating as follows:

         I am not aware of any defendant in this case, or anyone associated or
         affiliated with any defendant in this case, making any payment or
         providing any other financial assistance in any form to Mancuso or his
         family for any purpose, regardless of how the payment or assistance
         may be characterized.

Doc. 230-6 (Scherer Decl.) ¶ 5; Doc. 230-7 (Hager Decl.) ¶ 6; Doc. 230-8

(Collingsworth Decl.) ¶ 5; Doc. 230-9 (Otero Decl.) ¶ 5; Doc. 230-10 (Van Bilderbeek

Decl.) ¶ 5; Doc. 238-1 (Ramirez Decl.) ¶ 5. 1


         1 The declarations submitted by Van Bilderbeek and Collingsworth differ slightly from the

other declarations. Specifically, Van Bilderbeek and Collingsworth’s declarations state that they are
purportedly “not aware of any defendant in this case, or anyone associated or affiliated with any
defendant in this case, making any payment or providing any other financial assistance in any form
to Mancuso or his family or anyone else for any purpose, regardless of how the payment or
assistance may be characterized.” Doc. 230-8 (Collingsworth Decl.) ¶ 5; Doc. 230-10 (Van Bilderbeek
Decl.) ¶ 5 (emphasis added). It is unclear what Collingsworth and Van Bilderbeek mean by the

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        As explained in Drummond’s prior response, Doc. 233, § I-B, Defendants’

revised declarations qualify their disclosure of payments to those made by “any

defendant in this case, or anyone associated or affiliated with any defendant in this

case.” This qualification begs the question of whether Defendants are aware of

payments to Mancuso (or his family) from persons or entities the Defendants claim

not to be “associated” with. More importantly, this qualification is inconsistent with

this Court’s prior orders. Doc. 227 (June 26, 2023 Order) at 3; Doc. 205 (June 2,

2023 Order) at 3.

        C&S has repeatedly scorned Drummond’s position on this issue. Doc. 254 at

1; Doc. 234 at 1.        C&S, however, is yet to substantively refute Drummond’s

arguments. For example, C&S does not dispute that the Defendants’ declarations

are indeed qualified. Doc. 245 (C&S Renewed Motion) ¶ 6. Nor does C&S dispute

Defendants’ documented history of recharacterizing the roles of critical people when

it suited their purpose, like Mr. Collingsworth falsely representing to this Court

that Llanos Oil had “no relationship” to the Balcero case, Doc. 417 (Crime-Fraud

Op.) at 9, and the Defendants’ numerous conflicting positions regarding Ivan Otero.

Id. at 29. In light of the history of this case, including the absurd positions taken by

C&S and Collingsworth with respect to the lack of disclosure of witness payments

and their false discovery responses, id. at 40-42, Drummond cannot help but view

Defendants’ qualified declarations with skepticism.




phrase “or anyone else,” but it is clear (and undisputed) that Collingsworth and Van Bilderbeek are
aware of and made payments made to other witnesses, including Jaime Blanco and Rafael Garcia.

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          Simply put, if Defendants are aware of payments being made to Mancuso,

then those payments should be disclosed, regardless of the source and regardless of

how Defendants characterize the purpose of the payments. This includes payments

from people or entities with whom Defendants claim not to be “associated or

affiliated.”      Requiring   Defendants   to   disclose   this   information—without

qualification    and   without   wordsmithing—imposes      no     material   burden   on

Defendants.

    II.      RECENT EVENTS VALIDATE DRUMMOND’S POSITION.

          C&S’s Renewed Motion repeats its refrain that “Drummond already has

enough information to meaningfully depose Mancuso.” Doc. 254 (C&S Renewed

Motion) ¶ 8. See also Doc. 234 (C&S Motion) at 3 (“Drummond can fully cross-

examine [Mancuso] about whether he received any payments or anything else from

Defendants or anyone associated with them.”). As recent developments confirm,

Drummond cannot “meaningfully depose” any of the Defendants’ witnesses absent a

plenary production of documents. This is because Defendants cannot be trusted to

actually tell the truth about their witness payments.

          As this Court will recall, Defendants’ story at the crime-fraud hearing

regarding the $120,000 in payments to Jaime Blanco wasn’t that they “forgot” (like

the El Tigre and Samario payments). Rather, Collingsworth testified that he did

not disclose these payments to Drummond or the Court because they were made by

“someone else.”     According to Defendants, that “someone else” was Albert Van

Bilderbeek. Documents produced within the last few weeks revealed that this was



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a complete fabrication and that Collingsworth—not Albert Van Bilderbeek—paid

Jaime Blanco.     In other words, after being caught lying about the payments to

Blanco, Defendants lied again to the Court.

        As explained more fully below, Collingsworth paid Blanco using a $1,500,000

loan secured by his contingency fee interests in Defendants’ cases against

Drummond and Chiquita.         On the same day he received his loan proceeds,

Collingsworth immediately turned around and transferred half this money

($750,000) to Albert Van Bilderbeek with the express, written understanding that

Van Bilderbeek would “immediately” send money “on behalf of TC” to Ivan Otero.

Otero then gave that money to Blanco in exchange for his declaration. One month

later, Blanco signed his declaration in Balcero.      The context of these newly

discovered documents is as follows.

        In early 2011, Collingsworth unsuccessfully lobbied his former co-counsel at

Parker Waichman, LLP to pay Blanco. Defamation Doc. 417 (Crime-Fraud Op.) at

23. Parker Waichman, LLP ultimately refused, telling Collingsworth paying Blanco

would “likely be viewed as a form of bribery.”           Defamation Doc. 101-15.

Collingsworth responded, “As opposed to him saying Drummond had nothing at all

to do with it?” Id.

        Undeterred by his co-counsel’s concern, Collingsworth kept working on a way

to pay Blanco. In late August 2011, Lorraine Leete told Collingsworth that Blanco

was “not working on his declaration until he gets this funding.” Ex. 1 (Aug. 25,

2011 Collingsworth email – CS_TC037828). Collingsworth responded that he was



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“on the phone to Albert every day hearing new intricacies [sic] of his finance

situation, including today.” Id. On September 6, 2011, Collingsworth sent a letter

to a man named Herman de Leeuw “c/o Albert Van Bilderbeek” stating as follows:

        I want to personally assure you that, after several tough years of
        litigation, the Drummond case is now in great condition for our victory
        either in court or through a settlement. In my opinion, we are well
        over 90% probability of winning. With the funds we are seeking,
        we will be able to seal the deal with the new evidence we are in
        the process of developing.

Ex. 2 (Sept. 6, 2011 Collingsworth Ltr. – CS_TC180932) (emphasis added).

        Three days later, on September 9, 2011, Collingsworth emailed his team

telling them that he “just signed all kinds of bizarre documents with Albert to

confirm a finance plan.” Ex. 3 (Sept. 9, 2011 Collingsworth email – CS_TC201621).

The same day, Collingsworth executed a promissory note and obtained a $1,500,000

loan from an entity called Nicox BV.               Ex. 4 (Collingsworth-Nicox BV Loan

Agreement – IRA-33403); Ex. 5 (Collingsworth Promissory Note – IRA-033413).

Herman de Leeuw represented Nicox BV in that loan agreement, and the loan was

secured by Collingsworth’s contingency fee interests in Defendants’ cases against

Drummond and Chiquita. Id. 2

        Also on September 9, 2011, Collingsworth executed a separate loan

agreement with Albert Van Bilderbeek in which Collingsworth transferred Van



2 Collingsworth also executed a separate agreement assigning a percentage of his contingency fee

interests in cases against Chiquita and Drummond to a man named James Ellwood who purportedly
provided “logistical support, suitable contacts and information so as to assist TC.” Ex. 6
(Collingsworth-Ellwood Cooperation Agreement - IRA-033414). Ellwood then apparently entered
into other agreements with Nicox BV (Ex. 7 (Ellwood-Nicox BV Agreement – IRA-033420)) and a
man named Paul Akkermans (Ex. 8 (Ellwood-Akkermans Agreement – IRA-033417)) giving them
each 1/3 of the fees Ellwood received from Collingsworth.

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Bilderbeek $750,000—half the proceeds from Collingsworth’s loan from Nicox BV.

Ex. 9 (Collingsworth-Van Bilderbeek Loan Agreement - IRA-033426). Collingsworth

and Van Bilderbeek then executed a “Co-Operation Agreement” in which they

agreed that Van Bilderbeek would “immediately” pay Ivan Otero $60,000. Ex. 10

(Collingsworth-Van Bilderbeek Cooperation Agreement - CS_TC166643-0001). 3

Notably, this payment was expressly “on behalf of” and “funded by TC.” Id. 4

A few days later, Blanco received the $60,000 payment that was sent to Ivan Otero’s

bank account specified in Collingsworth and Van Bilderbeek’s “Co-operation

Agreement.”        Defamation Doc. 342-20.              That “Co-operation Agreement” also

provided that Van Bilderbeek would send Otero another $50,000 “when the work

contemplated for Ivan Otero is completed.” Ex. 10 (Collingsworth-Van Bilderbeek

Cooperation Agreement - CS_TC166643-0001). Blanco signed his declaration one

month later, in October 2011, and he was subsequently paid $25,000 in December

2011 and $35,000 in July 2012. Defamation Doc. 417 (Crime-Fraud Op.) at 23-24.




3 The agreements signed by Collingsworth were witnessed by Christian Levesque.        Ms. Levesque was
C&S lawyer who, in addition to receiving the “deps in the can” email showing payments to El Tigre
and Samario and numerous emails relating to Blanco payments, was counsel of record in Balcero
and Melo. When she was asked about these agreements, she testified that she was “busy doing
worker bee work for litigation. So I – I just don’t recall being involved in that way. I just don’t.” Ex.
11 (Levesque Dep.) 131:19-21.
4 Drummond served discovery requests in the RICO case specifically seeking communications with

Herman De Leeuw, Frank van Lint, and Paul Akkermans, all of whom were involved in this
financing arrangement. Van Bilderbeek objected to all those requests, stating that they sought
“information which is not relevant nor reasonably calculated to lead to the discovery of admissible
evidence.” RICO Doc. 195-3 (RFP Nos. 37-39). Drummond also served an interrogatory asking
Defendants to identify every person holding any type of financial interests in any cases against
Drummond. Collingsworth, IRA, C&S, and Bill Scherer purported to provide such information as it
relates “to cases against Drummond.” Ex. 12 (Collingsworth/IRA/C&S/Bill Scherer Irog Response
No. 2). None of these agreements were disclosed. Id. Drummond also served RFPs calling for these
documents. Id. at RFP Nos. 8 and 35. Again, none were produced.

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         Below is a chart summarizing these newly discovered documents and flow of

funds:




         A few months after he signed these agreements, received $1.5 million, and

paid Jaime Blanco, Collingsworth falsely represented to this Court that Llanos Oil

and the Van Bilderbeek brothers had “no relationship” to the Balcero case.

Defamation Doc. 417 (Crime-Fraud Op.) at 9; Balcero Doc. 339 (March 8, 2012 Hrg.

Tr.) at 8:8-10:23.     This Court made clear its concern about Collingsworth’s

relationship with Van Bilderbeek, stating “Mr. Collingsworth, I’m going to say one

more thing. I am concerned about this whole business with Llanos. Can’t put my

finger on it, but at a minimum I could say this to you: I don’t know that your

clients’ best interests includes that type of an association with a competitor of

Drummond because you’re going to open yourself up at a minimum to questions




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about your approach to this case and what your interests are.”                    Id. at 68:1-9. 5

Needless to say, this Court’s concern was prescient.

        Collingsworth and C&S continued to lie about these payments up to and

during the crime-fraud hearing, when they falsely represented that they failed to

disclose the Blanco payments because those were “payments other people made.”

Defamation Doc. 417 (Crime-Fraud Hrg. Tr.) at 109:5-12. In his deposition prior to

the crime-fraud hearing, Collingsworth falsely testified as follows:

        Q You do not disclose to the Court or anyone else that payments to
        Blanco were, in fact, made with your knowledge for his attorneys' fees,
        do you?

        MS. ECCLES: Object to the form.

        A As I previously testified, at this time, I was maintaining a
        distinction between a payment made by me and a payment
        made by someone else. I’ve since reconsidered that distinction
        and disclosed the Jaime Blanco payment from Albert Van
        Bilderbeek.

                                               […]

        Q And with respect to Jaime Blanco, those documents were not
        produced because why?

        A As I’ve previously testified, I -- I had made a distinction in the
        responsiveness of those because they were not from me.

                                               […]

        But I was aware of the Jaime Blanco arrangement with Mr. Van
        Bilderbeek, but did not disclose that until I decided to disclose
        them despite the distinction I had been making that those
        payments did not come from me.


5 Christian Levesque, who witnessed the agreements executed by Collingsworth just a few months

earlier, was also present at the March 8, 2012 hearing as counsel of record as a C&S lawyer. Balcero
Doc. 339 (March 8, 2012 Hrg. Tr.). Ms. Levesque did not correct Collingsworth’s misrepresentation.

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Defamation Doc. 329-1 (Collingsworth Dep.) at 167:9-19; 258:2-22; 259:11-15

(emphasis added).

        Those lies continued at the crime-fraud hearing when Collingsworth lied in

response to questions from his own counsel, questions on cross-examination from

Drummond’s counsel, and in response to direct questions by this Court:

        Q [Mr. Niewoehner]: Did you or Conrad & Scherer provide attorney’s
        fees to Mr. Blanco?

        A No, we did not.

        Q But somebody else provided what you understood to be legal
        assistance fees; is that correct?

        A Yes.

        Q Who was that person?

        A Albert van Bilderbeek.

Defamation Doc. 389 (Crime-Fraud Hrg. Tr.) at 91:9-16.

        Q [Mr. Wells]: How is that not something of value offered to a
        witness? Do you recall the interrogatories that we discussed earlier in
        this hearing back in Balcero?

        A Yes.

        Q How is that not disclosed?

        A Well, as I said, I made what ultimately I determined to be an
        incorrect judgment about the distinction I was making about
        something coming from me versus something coming from Mr.
        van Bilderbeek.

                                         […]

        [Mr. Collingsworth]: As I previously testified, we were making a
        distinction at that time and the statement that defendants or
        Parker Waichman had not paid the fees is true. Ultimately, we

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        decided that it was cutting it too close to not disclose that the van
        Bilderbeeks instead for their own reasons paid, and we did
        disclose that.

        Q Are you telling this Court this representation here is not trying to
        persuade the Court that Jaime Blanco was never paid by anyone for
        his legal fees?

        A I think this is carefully worded and technically, as I admitted and
        apologized for, it cuts it a little close, but it is not untrue that we
        did not pay.

Id. at 215:8-16; 217:3-8; 260:19-261:5 (emphasis added).

        THE COURT: Wait a minute. Explain that one to me, how a $150,000
        payment requested would have no value.

        THE WITNESS: No, I’m sorry. I was talking about the van
        Bilderbeek situation, that merely offering to introduce him to
        someone was not something that I considered to be of value. I
        later, obviously, revised that distinction that I was making and
        made the disclosure, but I initially made that distinction in my
        mind.

Id. at 216:2-15 (emphasis added). Both Defendants continued to make the same

false representations in their post-hearing briefs.          Defamation Doc. 392

(Collingsworth Post-Hrg. Br.) at 2 n.1; Defamation Doc. 395 (C&S Post-Hrg. Br.) at

6 (“Albert van Bilderbeek was paying Blanco’s attorney’s fees through Otero”).

        Incredibly, these documents have been on IRAdvocates’ privilege log since

April 8, 2016. Yet, Defendants have never corrected the record to disclose that

Collingsworth actually paid Blanco. Worse still, the only reason these documents

were produced is because Drummond identified them as part of a recertification




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process for the documents logged by IRAdvocates. 6 But for the fortuitous fact that

Drummond selected these documents from IRAdvocates’ log as part of its sampling,

they would never have been produced.

        These newly discovered documents show that Collingsworth, not Van

Bilderbeek, paid Jaime Blanco, and they show that Defendants’ proffered reason for

failing to disclose the Blanco payments was itself a lie. They also raise obvious

questions about how Collingsworth and Van Bilderbeek spent the other $1.39

million, especially when juxtaposed with the few documents Drummond does have

relating to Mancuso in which the Defendants are discussing “the brothers” and

using veiled (and familiar) language in conjunction with Mancuso’s testimony. Doc.

198 (Drummond’s Motion for Reconsideration) at 11-13 (comparing the timeline of

events between Blanco and Mancuso and the similarity in the Defendants’

communications regarding these individuals). 7 As the chronology in Drummond’s

prior filing reflects, see id., Collingsworth has been trying to obtain Mancuso’s

testimony for more than a decade, even to the point of preparing a draft declaration

for Mancuso in 2015. Ex. 13 (Oct. 17, 2015 Mancuso Draft Declaration). The fact




6 With the assistance of the Special Master, Drummond and C&S negotiated an agreement whereby

Drummond identified documents on IRAdvocates’ log which C&S then reviewed and recertified its
privilege claims under the law of this case.
7 Collingsworth has not produced the bank records which reflect his receipt and use of this

$1,500,000 loan. As explained infra in Section III, Drummond requests that he be ordered to do so.
Van Bilderbeek also has not produced his bank records reflecting his receipt and use the money he
received from Collingsworth. Notably, the few pages of bank records that Van Bilderbeek produced
were heavily redacted using the exact same method that C&S and Collingsworth used to redact bank
records to hide the El Tigre and Samario payments. Compare RICO Doc. 195-1 (Van Bilderbeek
bank records) at pp. 13-22 of 51 with Defamation Doc. 417 (Crime-Fraud Op.) at 31-32.

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that Mancuso is now apparently willing to testify for the Defendants raises serious

questions about why that is.

    III.     DEFENDANTS MUST SEARCH FOR OR PRODUCE DOCUMENTS RELATING
             TO MANCUSO.


        Drummond cannot “fully cross examine” Mancuso, cf. Doc. 234 (C&S Reply)

at 3, without a plenary production of documents because the Defendants have a

documented history of lying until documents give them no other choice but to

disclose critical facts. 8 C&S raised the issue of Mancuso’s deposition more than five

months ago, asking this Court to rule on its motion “with haste.” Doc. 191 (C&S

Motion) ¶ 12.       To date, C&S has not specifically searched for and produced

documents relating to Mancuso, which is contrary to this Court’s directive that the

parties “SHALL work together in good faith to expedite review and production of

documents relevant to the particular witnesses that are to be deposed.” Doc. 218

(June 26, 2023 Order) at 3. 9

        This Court instructed Drummond to “specify in detail what would satisfy it to

agree to going forward with Mancuso’s deposition.” Doc. 255. Consistent with this

Court’s directive, Drummond requests that all Defendants be ordered to do the

following before Mancuso is deposed:

        1. Specifically search for and produce all documents and communications
           relating to Salvatore Mancuso, including communications with any


8 Indeed, Defendants have had to amend their response to Drummond’s interrogatory seeking
witness payment information twelve times in the Defamation case as documents came to light giving
them no other choice.
9 Although this order applied to the Defendants’ letters rogatory to imprisoned Colombian witnesses,

the only distinction between those witnesses and Mancuso is that Mancuso is imprisoned in the U.S.
rather than Colombia.

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             intermediaries for Mancuso, as well as communications discussing
             Mancuso’s testimony, using agreed upon search criteria. 10

        2. Specifically search for and produce all communications with Joaquin
           Perez, who is/was one of Mancuso’s lawyers, using agreed upon search
           criteria. 11 See Docs. 198-14 and 198-16.

        3. Fully and truthfully answer interrogatories and produce documents
           relating to financial interests held by any individual or entity in any of
           Defendants’ cases against Drummond. 12

        4. Produce all Defendant Collingsworth’s and Defendant IRAdvocates’
           financial records from 2001 to the present. 13




10 See Ramirez, Otero, and Van Bilderbeek RICO RFP 13(u) (“All communications with … Salvatore

Mancuso.”); Ex. 12 (Collingsworth/IRA/C&S/Bill Scherer RICO RFP No. 1) (“All communications
between Defendants and any third party relating to Drummond.”); Collingsworth/C&S Defamation
4th RFP No. 3 (“All communications between any member of Defendants’ litigation team and any
witness identified or incorporated by reference into Defendants’ Rule 26 Initial Disclosures or
Defendants’ response to Interrogatory No. 2 in Drummond’s First Set of Interrogatories, or any
Colombian paramilitary, including without limitation … Salvatore Mancuso[.] This request includes
communications with any relative, representative, or agent of any witness or Colombian
paramilitary.”); Collingsworth/C&S Defamation 4th RFP No. 4 (“All documents, including e-mail
communications, which reference, reflect or relate to the Defendants’ discussions regarding
the testimony or allegations of any Colombian Witness or payments to witnesses in
Colombia or Panama, or threats to or intimidation of any Colombian Witness. For purposes
of this request ‘Colombian Witness’ means any person claiming to have knowledge of Drummond’s
alleged collaboration with paramilitaries and includes people of any nationality.”) (emphasis added).
11 Ramirez, Otero, and Van Bilderbeek RICO RFP 26 (“All communications with Joaquin Perez”);

Collingsworth/IRA/C&S/Bill Scherer RICO RFP No. 1.
12 Ex. 12 (Collingsworth/IRA/C&S/Bill Scherer RICO RFP No. 8) (“All documents relating to any
financial interest currently or previously held by any person or entity in any litigation filed by
Conrad & Scherer, LLP, including any current or former officer, partner, employee or agent thereof,
against Drummond or any other multinational corporation alleging human rights abuses.”) and
Interrogatory No. 2 (“Identify every person or entity that currently holds, or has ever held, any type
of financial interest including, but not limited to, any contingency fee interest, in any case filed by
Conrad & Scherer, LLP, or any current or former employee, partner, officer, or agent thereof, against
Drummond or any other multinational corporation alleging human rights abuses. For each such
person or entity, provide his/her/its name, contact information (including address), a detailed
description of the nature and extent of his/her/its financial interest(s), and the case(s) in which
he/she/it holds/held such interest(s).”).
13 Ex. 12 (Collingsworth/IRA RICO RFPs 16 and 17).    This Court has already ordered Otero,
Ramirez, and Van Bilderbeek to fully respond to Drummond’s discovery requests by October 31.
Doc. 252. Those requests call for Otero, Ramirez, and Van Bilderbeek’s financial and banking
records.

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                                   CONCLUSION

        Drummond respectfully requests that Mancuso’s deposition not go forward

unless and until all Defendants (1) submit unqualified declarations that comply

with this Court’s prior orders and (2) answer the interrogatories and search for and

produce the documents listed in Section III supra.

DATE: October 12, 2023

                                        Respectfully submitted,

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                           CERTIFICATE OF SERVICE
       I hereby certify that on October 12, 2023, I filed the foregoing electronically
with the Clerk of Court using the CM/ECF system, which will automatically serve
all counsel of record. In addition, a copy of this motion was sent, via electronic mail,
to the following:

     Albert Van Bilderbeek
     albert@vanbilderbeek.com



                                        s/ Benjamin T. Presley
                                        Benjamin T. Presley

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